OPINION — AG — (1) THE BOARD OF COUNTY COMMISSIONERS MAY PURCHASE INSURANCE TO PROTECT THE COUNTY FROM LOSS RESULTING FROM THE LIABILITY (IF THE COUNTY HAS SUCH LIABILITY UNDER THE LEASE OR RENTAL CONTRACT) OF THE COUNTY TO REBUILD, REPLACE OR REPAIR MACHINERY OR ROAD EQUIPMENT RENTED OR LEASED TO THE COUNTY WHICH BECOMES LOST, DAMAGED OR DESTROYED, AND THAT THE PREMIUMS MAY BE PAID FROM THE " COUNTY HIGHWAY CASH FUND — UNRESTRICTED " (2) 19 O.S. 627 [19-627] DOES NOT AUTHORIZE A BOARD OF COUNTY COMMISSIONERS TO PURCHASE MOTOR VEHICLE (AUTOMOBILES) LIABILITY INSURANCE ON ROAD MACHINERY AND EQUIPMENT RENTED OR LEASED TO THE COUNTY, THE TITLE TO WHICH IS NOT IN THE COUNTY. CITE: 36 O.S. 130.1 [36-130.1], 62 O.S. 331 [62-331] [62-331], 69 O.S. 26 [69-26] (JAMES P. GARRETT)